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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF ILLINOIS

DANIEL LUGO,

             Plaintiff,
v.
                                              CASE NO.
VMM, INC.,

          Defendant.
_________________________________/

                                  COMPLAINT

      Plaintiff, Daniel Lugo, by and through his undersigned counsel, hereby sues

the Defendant, VMM, INC., for injunctive relief pursuant to the Americans With

Disabilities Act, 42 U.S.C. §12181, et seq. (the "ADA") and in support thereof

states as follows:

                      SUBJECT-MATTER JURISDICTION

      1. This court has subject-matter jurisdiction since this action arises pursuant

to 28 U.S.C. § 1331 and §1343 and Plaintiff’s claims arise under 42 U.S.C. §12181

et seq. based upon Defendant's violations of Title III of the ADA.

                     PERSONAL JURISDICTION/VENUE

      2. Defendant is subject to personal jurisdiction for the causes of action at

issue herein, which arise from Defendant operating, conducting, engaging in, or

carrying on a business or business venture in this state and having an office or

agency in this state, and by Defendant being engaged in substantial and not
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isolated activity within this state . 735 ILCS 5/2-209, et seq. Venue lies in this

judicial district pursuant to 28 U.S.C. § 1391(b)(1) and (b)(2) because Defendant is

a resident of Chicago in this district and since the hotel at issue is located in

Chicago in this district.

                                      PARTIES

      3. Plaintiff, Daniel Lugo, is an individual who is over eighteen years of age

and sui juris. Plaintiff is disabled as such term is defined by the ADA and is

substantially limited in performing one or more major life activities (walking) due

to permanent damage to his spinal cord as a result of a broken neck caused by a

motor vehicle accident. Plaintiff must always use a wheelchair to ambulate.

Plaintiff also has limited use of his hands and fingers. The online hotel reservation

system for Defendant's hotel, as well as a third party reservations service that

provides the public with the ability to reserve a room at Defendant’s hotel, fail to

comply with any of the requirements of 28 C.F.R. §36.302(e) and therefore

Plaintiff's full and equal enjoyment of the goods, services, facilities, privileges,

advantages and/or accommodations offered thereon are restricted and limited

because of Plaintiff’s disability and will be restricted in the future unless and until

Defendant is compelled to comply with the ADA’s requirements with regard to the

online reservations services providing for reserving rooms at Defendant’s hotel.

Plaintiff intends to visit the online reservation services described herein in the near



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future, and within thirty (30) days, to book a room and utilize the goods, services,

facilities, privileges, advantages and/or accommodations being offered and/or to

test the online reservation services for compliance with 28 C.F.R. §36.302(e).

         4. Defendant is the operator and/or owner of the Skylark Motel located at

5435 South Archer Avenue in in Chicago, Illinois ("the Skylark”). The online

reservation system for the Skylark is found at skylarkmotelchicago.us. A third

party reservation service which provides for the reserving of rooms at the Skylark

(which does not provide for the reserving of rooms that are identified or described

as accessible and which does not describe the accessible or inaccessible features

within the common areas of the Skylark) is booking.com, (“the Third Party

Reservations Service”). The Skylark’s reservation system and the Third Party

Reservations Service are collectively referred to herein as the "Reservations

Services".

      CLAIM FOR INJUNCTIVE RELIEF PURSUANT TO THE ADA

         5. On July 26, 1990, Congress enacted the ADA explaining that the

purpose of the ADA was to provide a clear and comprehensive national mandate

for the elimination of discrimination against individuals with disabilities and to

provide clear, strong, consistent, enforceable standards addressing said

discrimination, invoking the sweep of congressional authority in order to address

the major areas of discrimination faced day-to-day by people with disabilities to



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ensure that the Federal government plays a central role in enforcing the standards

set by the ADA. (42 U.S.C. § 12101(b)(1)-(4)).

            6. Pursuant to the mandates of 42 U.S.C. §12134(a), on September 15,

2010, the Department of Justice (“DOJ”), Office of the Attorney General,

published revised regulations for Title III of the Americans With Disabilities Act

of 1990 in the Federal Register to implement the requirements of the ADA. Public

accommodations, including places of lodging, were required to conform to these

regulations on or before March 15, 2012.

            7. On March 15, 2012, new regulations implementing Title III of the

ADA took effect, imposing significant new obligations on inns, motels, hotels and

other "places of lodging". 28 C.F.R. §36.302(e) states:

       ''(1) Reservations made by places of lodging. A public accommodation that
owns, leases (or leases to), or operates a place of lodging shall, with respect to
reservations made by any means, including by telephone, in-person, or through a
third party -
(i) Modify its policies, practices, or procedures to ensure that individuals with
disabilities can make reservations for accessible guest rooms during the same hours
and in the same manner as individuals who do not need accessible rooms;
(ii) Identify and describe accessible features in the hotels and guest rooms offered
through its reservations service in enough detail to reasonably
permit individuals with disabilities to assess independently whether a given hotel
or guest room meets his or her accessibility needs;1

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 The United States Department of Justice, in "28 C.F.R. Appendix A to Part 36, Guidance on Revisions to ADA
Regulation on Nondiscrimination on the Basis of Disability by Public Accommodations and Commercial Facilities",
provides a section-by-section analysis of 28 C.F.R. §36.302(e)(1). In its analysis and guidance, the Department of
Justice's official comments state that "information about the Hotel should include, at a minimum, information about
accessible entrances to the hotel, the path of travel to guest check-in and other essential services, and the accessible
route to the accessible room or rooms. In addition to the room information described above, these hotels should



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(iii) Ensure that accessible guest rooms are held for use by individuals with
disabilities until all other guest rooms of that type have been rented and the
accessible room requested is the only remaining room of that type;
(iv) Reserve, upon request, accessible guest rooms or specific types of guest rooms
and ensure that the guest rooms requested are blocked and removed from all
reservations systems; and
(v) Guarantee that the specific accessible guest room reserved through its
reservations service is held for the reserving customer, regardless of whether a
specific room is held in response to reservations made by others."
           8. The DOJ Official Comments to 28 C.F.R.§ 36.302(e) (1) specifically

address the common use of third party reservations services in the hotel industry

and the hotel industry’s attempts to exclude such sites from the requirements of the

regulation. In rejecting this request, the DOJ, in the DOJ Official Comments,

states as follows:

         “Hotels and organizations commenting on their behalf also requested that
         the language be changed to eliminate any liability for reservations made
         through third parties, arguing that they are unable to control the actions of
         unrelated parties. The rule, both as proposed and as adopted, requires
         covered public accommodations to ensure that reservations made on their
         behalf by third parties are made in a manner that results in parity between
         those who need accessible rooms and those who do not.”

         9.      The Skylark is a place of public accommodation that owns and/or

leases and operates a place of lodging pursuant to the ADA. The Reservations

Services enable members of the public to reserve a guest room at the Skylark. The




provide information about important features that do not comply with the 1991 Standards." An agency's
interpretation of its own regulations, such as the Department of Justice's interpretation of 28 C.F.R. §36.302(e)(1),
must be given "substantial deference" and "controlling weight" unless it is "plainly erroneous or inconsistent with
the regulation." Thomas Jefferson Univ. v. Shalala, 512 U.S. 504, 512, 114 S.Ct. 2381, 129 L.Ed.2d 405 (1994).


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Reservations Services are subject to the requirements of 28 C.F.R.§ 36.302(e) and

Defendant is responsible for said compliance.

       10. Most recently, during March, 2023 Plaintiff attempted to specifically

identify and book a guaranteed reservation for an accessible hotel room at the

Skylark from the Reservations Services but was unable to do so due to the failure

of these services to comply with the requirements set forth in paragraph 7.

       11. Plaintiff is an advocate of the rights of similarly situated disabled

persons and, pursuant to Havens Realty Corp. v. Coleman, 455 U.S. 363, 102 S.Ct.

1114 (1982) and Laufer v. Surf Hotel Investments, LLC, 2021 U.S. Dist. LEXIS

39780*; 2021 WL 809732, is a "tester" for the purpose of asserting his civil rights,

monitoring, ensuring, and determining whether places of public accommodation,

including online reservation systems for places of lodging, are in compliance with

the ADA.

       12. Defendant has discriminated against Plaintiff by denying him access

to and full and equal enjoyment of the goods, services, facilities, privileges,

advantages and accommodations offered at the Skylark through the Reservations

Services due to the substantive ADA violations contained thereon. Plaintiff has

suffered, and continues to suffer, frustration and humiliation as the result of the

discriminatory conditions present on the Reservations Services. Defendant




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contributes to Plaintiff's sense of isolation and segregation by the continued

operation of the Reservations Services with discriminatory conditions.

COUNT I-CLAIM FOR INJUNCTIVE RELIEF PURSUANT TO THE ADA
           THE SKYLARK’S RESERVATION SYSTEM

          13. Plaintiff realleges and incorporates paragraphs 1 through 12 above

herein.

          14. The online reservation systems for the Skylark encountered by

Plaintiff when he visited it failed to comply with the requirements of 28 C.F.R.§

36.302(e)(1). When Plaintiff visited the Skylark’s online reservation systems, he

tried to make a reservation for an accessible hotel room at the Skylark, since he

requires an accessible hotel room due to his inability to walk, but it was not

possible to make such a reservation. It was possible to reserve a hotel room that

was not accessible. For this reason Defendant has no policy, practice, or procedure

in place to ensure that individuals with disabilities can make reservations for

accessible hotel rooms during the same hours and in the same manner as

individuals who do not need accessible hotel rooms. This constitutes a violation of

28 C.F.R.§ 36.302(e)(1)(i). When Plaintiff visited the Skylark’s online reservation

system, he searched the site for the identification and descriptions of accessible

features at the Skylark and hotel rooms offered through the reservation service so

that he could assess independently whether the Skylark or a specific hotel room

met his accessibility needs in light of his disability but the reservation service

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contained no such descriptions at all. This constitutes a violation of 28 C.F.R.§

36.302(e)(1)(ii). In light of the foregoing, Defendant also necessarily violated 28

C.F.R. §36.302(e)(1)(iii)-(v) in that since the online reservation service does not

describe any accessible hotel room and does not, in turn, allow the reserving of

such accessible hotel room, the reservation service cannot hold such unavailable

accessible hotel room in the reservation systems until all other units have been

rented, block such unavailable accessible hotel rooms from the systems once

reserved, and guaranty that such unavailable accessible hotel rooms will be held

for the reserving customer as required by sections (iii) - (v) respectively.

      15. Plaintiff is without an adequate remedy at law and is suffering

irreparable harm and he reasonably anticipates that he will continue to suffer

irreparable harm unless and until Defendant is required to correct the ADA

violations to the online reservation system for the Skylark and maintain the online

reservation system and accompanying policies in a manner that is consistent with

and compliant with the requirements of 28 C.F.R. §36.302(e).

       16. Plaintiff has retained the undersigned counsel for the filing and

prosecution of this action and is entitled to recover reasonable attorneys’ fees, costs

and expenses from Defendant, including litigation expenses and costs pursuant to

42 U.S.C. §12205.




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         17. Pursuant to 42 U.S.C. § 12188(a), this Court is provided with authority

to grant injunctive relief to Plaintiff, including an Order compelling Defendant to

implement policies, consistent with the ADA, to accommodate the disabled, by

requiring Defendant to alter and maintain its online reservation system in

accordance with the requirements set forth in paragraph 7 above.2

         WHEREFORE, Plaintiff, Daniel Lugo, requests that the Court issue a

permanent injunction enjoining Defendant from continuing its discriminatory

practices, ordering Defendant to implement policies, consistent with the ADA, to

accommodate the disabled, through requiring Defendant to alter and maintain the

online reservation system for the Skylark in accordance with the requirements set

forth in paragraph 7 above, and awarding Plaintiff reasonable attorneys’ fees,

litigation expenses, including expert fees, and costs.

COUNT II-CLAIM FOR INJUNCTIVE RELIEF PURSUANT TO THE ADA
          THE THIRD PARTY RESERVATION SERVICE

          18. Plaintiff realleges and incorporates paragraphs 1 through 12 above

herein.




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  The injunction, to be meaningful and fulfill its intended purpose, should require Defendant to develop, and strictly
enforce, a policy requiring regular monitoring of its online reservations system. As rates and classes of hotel rooms
at the Skylark, and the number and type of hotel rooms, beds, accommodations and amenities offered in the various
unit types change from time to time, the availability of accessible units must be re-dispersed across these various
price points, classes, as well as across units with disparate features (2010 ADA Standard 224.5). In light of the
foregoing, in addition to regular ongoing website maintenance and to reflect physical changes at the Skylark, the
online reservations system must continuously be updated to properly reflect and describe Defendant's compliance
with the substantive ADA Standards regarding accessible hotel rooms in accordance with 28 C.F.R. 36.302(e)(1).


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       19. The ADA violations for the Third Party Reservations Service

encountered by Plaintiff consist of the following:

      a)     A failure of any policy, practice, or procedure ensuring that
             individuals with disabilities can make reservations for accessible guest
             rooms during the same hours and in the same manner as individuals
             who do not need accessible rooms; and

      b)     A failure to identify and describe accessible features in the hotel and
             guest rooms offered through the reservations service in enough detail
             to reasonably permit individuals with disabilities to assess
             independently whether the hotel or specific guest rooms meets his or
             her accessibility needs.
.
      20.    Plaintiff is without an adequate remedy at law and is suffering

irreparable harm and he reasonably anticipates that he will continue to suffer

irreparable harm unless and until Defendant enacts appropriate policies and makes

reasonable efforts to make accessible rooms available through the Third Party

Reservation Service and provides this service with information concerning the

accessible and inaccessible features of the Skylark and accessible rooms such that

the operator of the service is able to correct the ADA violations on the system and

maintain it, as to the Skylark, in a manner that is consistent with and compliant

with the requirements of 28 C.F.R. §36.302(e).

      21.     Plaintiff has retained the undersigned counsel for the filing and

prosecution of this action and is entitled to recover reasonable attorneys’ fees, costs




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and expenses from Defendant, including litigation expenses and costs pursuant to

42 U.S.C. §12205.

         22.      Pursuant to 42 U.S.C. § 12188(a), this Court is provided with

authority to grant injunctive relief to Plaintiff, including an Order compelling

Defendant to implement policies, consistent with the ADA, to accommodate the

disabled in accordance with the requirements set forth in paragraph 7 above.3

         WHEREFORE, Plaintiff, Daniel Lugo, requests that the Court issue a

permanent injunction enjoining Defendant from continuing its discriminatory

practices, ordering Defendant to implement policies, consistent with the ADA, to

accommodate the disabled, and to make reasonable efforts to have accessible

rooms available for reserving through the Third Party Reservation Service by

providing this service with information concerning the accessible and inaccessible

features of the Skylark and accessible rooms such that the operator of this site is

able to correct the ADA violations on the site and maintain them, as to the Skylark,

in a manner that is consistent with and compliant with the requirements of 28




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  The injunction, to be meaningful and fulfill its intended purpose, should require Defendant to develop, and strictly
enforce, a policy requiring regular monitoring of the online Reservation Service. As rates and classes of rooms
change at the Skylark, and the number and type of beds, accommodations and amenities offered in the various room
types change from time to time, the availability of accessible rooms must be re-dispersed across these various price
points, classes, as well as across rooms with disparate features (2010 ADA Standard 224.5). In light of the
foregoing, to reflect physical changes at the Skylark, the Reservations Service must continuously be updated to
properly reflect and describe Defendant's compliance with the substantive ADA Standards regarding accessible
hotel rooms in accordance with 28 C.F.R. 36.302(e)(1), which can only be accomplished with Defendant’s
cooperation and participation with this Reservation Service.



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C.F.R. §36.302(e), and awarding Plaintiff reasonable attorneys’ fees, litigation

expenses, including expert fees and costs.

                                              s/Lee D. Sarkin
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